Case: 17-1968   Case
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                    United States Court of Appeals
                                   For the First Circuit
      No. 17-1968
                    SCOTTSDALE CAPITAL ADVISORS CORP.; JOHN HURRY

                                        Plaintiffs - Appellants

                                                  v.

                              THE DEAL, LLC; WILLIAM MEAGHER

                                       Defendants - Appellees


                                            MANDATE

                                       Entered: April 25, 2018

             In accordance with the judgment of April 3, 2018, and pursuant to Federal Rule of
      Appellate Procedure 41(a), this constitutes the formal mandate of this Court.


                                                By the Court:

                                                /s/ Margaret Carter, Clerk


      cc:
      John M. Browning
      Dilan A. Esper
      Steven M. Gordon
      Charles J. Harder
      Christopher D. Hawkins
      Elizabeth Anne McNamara
      Douglas E. Mirell
      Jordan Susman
